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 Attorneys for Safety National Casualty Corporation

                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY
 --------------------------------------------------------------x
                                                               :
      In re                                                    :        Chapter 11
                                                               :
      BED BATH & BEYOND INC., et al.,                          :
                                                               :        Case No. 23-13359 (VFP)
                                                               :
                   Debtors. 1                                  :        (Jointly Administered)
                                                               :
 --------------------------------------------------------------x

     RESERVATION OF RIGHTS AND OBJECTION OF SAFETY NATIONAL
   CASUALTY CORPORATION AS TO NOTICE THE NOTICE OF MOTION TO
 MODIFY STAY AND FOR LEAVE TO PROCEED TO THE EXTENT OF INSURANCE
                PROCEEDS; AND FOR RELATED RELIEF

           Safety National Casualty Corporation (“Safety National”), by and through the

 undersigned counsel, hereby files this objection and reservation of rights (the “Objection”) as to

 the Notice of Motion to Modify Stay and for Leave to Proceed to the Extent of Insurance Proceeds;




 1
  The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of the
 Debtors in these Chapter 11 Cases and each such Debtor’s tax identification number may be obtained on the website
 of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of Debtor
 Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these Chapter 11 Cases is
 650 Liberty Avenue, Union, New Jersey 07083.


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 and for Related Relief filed by Sharmele Moore [Docket No. 2292] (the “Motion”) In support of

 this Reservation of Rights, Safety National respectfully states a follows:

          1.        On September 26, 2023, movant Sharmele Moore (“Moore”) filed her Motion,

 requesting relief from the automatic stay to pursue claims against Debtor Bed Bath & Beyond, Inc.

 (the “Debtor”) and affiliates of the Debtor, to the “extent of insurance proceeds”, under a certain

 lawsuit styled Sharmele Moore v. Bed, Bath & Beyond, Inc., et al., Case No. 2301117 filed on

 March 17, 2023 in the Court of Common Pleas, Hamilton County, Ohio (the “State Court

 Lawsuit”). The State Court Lawsuit includes premises claims (the “Moore Claim”) against the

 Debtors based on alleged injuries sustained by Moore on July 26, 2022 while she was a

 patron/business invitee in a Bed Bath & Beyond store located in Cincinnati, Ohio. The Motion

 requests that Moore be allowed to the Moore Claim against the Debtors under the State Court

 Lawsuit to the extent of applicable insurance.

          2.        On September 14, 2023, this Court issued its Findings of Fact, Conclusions of Law,

 and Order (I) Approving the Disclosure Statement on a Final Basis and (II) Confirming the Second

 Amended Joint Chapter 11 Plan of Bed Bath & Beyond Inc. and Its Debtor Affiliates [Dkt. No.

 2172] approving Debtors’ Second Amended Joint Chapter 11 Plan of Bed Bath & Beyond Inc. And

 Its Debtor Affiliates (as may be modified, the “Plan”) [Docket No. 2160].

          3.        The Effective Date of the Plan occurred on September 29, 2023 [Dkt. No. 2311].

          4.        The Plan Injunction enjoined claimants from continuing to assert pre-petition

 claims against Debtors:




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          Plan, Art. 10.F.

                          OBJECTION AND RESERVATION OF RIGHTS

          5.        As a threshold issue, Movant seeks to “lift the automatic stay” through her Motion.

 Of course, pursuant to the Plan and Confirmation Order, the “automatic stay” does not prevent

 Movant from the relief she seeks; rather the Plan Injunction bars Moore from moving forward on

 her pre-petition claim against Debtors.

          6.        Given Moore’s failure to request appropriate relief from this Court, CBL requests

 that the request relief be denied.




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          7.        Out of the abundance of caution, Safety National will respond the Motion as if

 Movant had requested relief from the Plan Injunction, as any request for relief from the Plan

 Injunction should also be denied.

          8.        Moore’s motion seeks relief to pursue the Moore Claim the extent of insurance

 proceeds. However, based on the face of Moore’s Complaint which seeks a face amount of

 $25,000 (but only list under $3,000 in medical expenses), the Motion should be denied as no

 insurance exists for the Moore Claim.

          9.        While Safety National is a general liability insurer of Debtor, the applicable

 insurance policy (the “Policy”) contains a $1 million per incident self-insured retention (“SIR”)

 limit. As such, Safety National has no obligations under the Policy absent claims above $1 million.

 In effect, Debtors have no insurance for the alleged Moore Claim.

          10.       While Safety National does not necessarily object to a proper motion to lift the Plan

 Injunction to liquidate the Moore Claim against Debtors, Safety National does object to any efforts

 to liquidate the Moore Claim “to the extent of insurance proceeds” as none exist.

                                     RESERVATION OF RIGHTS

          11.       As of the filing of this Objection, no proposed stipulation has been filed on the

 docket nor have the Debtors filed any objection to the Motion. Safety National will object to any

 stipulation or proposed order that attempts to modify the rights or defenses held by Safety National

 under its insurance poloicy, any applicable policy or contractual agreements between the Debtors

 and Safety National, the Bankruptcy Code, or other applicable law. Accordingly, Safety National

 hereby expressly reserves all of it rights, claims, counterclaims, defenses, and remedies under the

 Bankruptcy Code, its insurance policy, any applicable contractual agreements between the Debtors

 and Safety National, and other applicable law.




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           WHEREFORE the reasons set forth above, Safety National respectfully requests the

 Motion be denied.

 Dated: October 17, 2023                   Respectfully Submitted,
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on this the 17th day of October, 2023, a true and correct copy of Safety
 National’s Objection and Reservation of Rights has been electronically filed with the Court via the
 CM/ECF system and will be served by electronic means through the CM/ECF system to the below
 and to all registered CM/ECF participants.

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